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Kenneth L. Baum, Esq.
LAW OFFICES OF KENNETH L.
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Hackensack, New Jersey 07601
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Attorneys for Defendant Educational
Credit Management Corporation

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAHUL MANCHANDA,
                                                  CIVIL ACTION NO. 1:19-cv-05121 (WHP)
                      Plaintiff,
                                                                    Civil Action
        v.
                                                        NOTICE OF MOTION OF
EDUCATIONAL CREDIT MANAGEMENT                           EDUCATIONAL CREDIT
CORPORATION,                                        MANAGEMENT CORPORATION FOR
                                                   SUMMARY JUDGMENT PURSUANT TO
                      Defendant.                          FED. R. CIV. P. 56




TO:    Rahul Manchanda, Esq.
       30 Wall Street, 8th Floor
       New York, NY 10005
       Plaintiff pro se


       PLEASE TAKE NOTICE that Defendant Educational Credit Management Corporation

(“ECMC”), by and through its counsel, Law Offices of Kenneth L. Baum LLC, shall move

before the Honorable William H. Pauley III, U.S.D.J., of the United States District Court for the

Southern District of New York, at the United States District Court, 40 Foley Square, New York,

New York 10007, for entry of an order granting ECMC summary judgment pursuant to Fed. R.

Civ. P. 56 and for such other and further relief as the Court deems just and proper (the

“Motion”).
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       PLEASE TAKE FURTHER NOTICE that the undersigned will reply upon the

Declarations of Kerry Klisch and Kenneth L. Baum, Esq., Statement of Material Facts, and

Memorandum of Law in support of the Motion. A proposed form of order has also been

submitted.

       PLEASE TAKE FURTHER NOTICE that opposition, if any, to the relief sought

herein shall be in writing, filed with the Clerk of the District Court, and served upon the

undersigned no later than June 18, 2021.


Dated: Hackensack, New Jersey
       May 25, 2021

                                                      LAW OFFICES OF KENNETH L. BAUM
                                                      LLC
                                                      Attorneys for Defendant Educational Credit
                                                      Management Corporation


                                                      By:     /s/ Kenneth L. Baum
                                                              Kenneth L. Baum




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